Case 2:18-cv-00108-DPM Document147 _ Filed 08/26/21 Page1of10

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
DELTA DIVISION

BETTYE BEDWELL, Chapter 7 Trustee of the
Bankruptcy Estate of Arthur Levy PLAINTIFF

vV. No. 2:18-cv-108-DPM

G. ADAM COSSEY; HUDSON, POTTS &
BERNSTEIN LLP; and JOHN DOES 1-10 DEFENDANTS

ORDER

1. This lawyer-conduct case is rooted in an approximately
$3 million medical malpractice judgment and vigorous efforts to collect
on it. Counsel who secured that judgment now represent the trustee of
the bankruptcy estate of the doctor who committed the medical
malpractice. In this case, the bankruptcy trustee alleges legal
malpractice and breach of fiduciary duty by the lawyer and firm who
represented the doctor and the trustee in a failed appeal. Collection
efforts have been stymied by the doctor’s bankruptcy and his insurer’s
liquidation.

2. The estate of Cora Dowd won its case against Dr. Arthur Levy
in the Circuit Court of Phillips County, Arkansas. Dr. Levy appealed.
Oceanus Insurance Company covered him through a policy issued to
the company he worked for. The policy provided $1 million in

coverage with a $100,000 self-insured retention by the company. The
Case 2:18-cv-00108-DPM Document147 _ Filed 08/26/21 Page 2 of 10

Dowd estate didn’t sue or recover against that company, which
provided doctors to hospitals, clinics, and the like.

Oceanus hired new counsel to pursue the appeal, the firm of
Hudson, Potts & Bernstein. One of the firm’s partners did a lot of work
for Oceanus. The firm assigned another partner, Adam Cossey, to take
the lead on the Dowd appeal. Dr. Levy also filed bankruptcy — because
he was on the hook for the excess judgment. The appeal was delayed
because the court reporter straggled in preparing the transcript of the
four-day trial. The Arkansas rules and precedent place ultimate
responsibility on the appellant and his lawyer to get a complete
appellate record filed. ARK. R. APP. P.—CIVIL 7(b); Morris v. Stroud, 317
Ark. 628, 630, 883 S.W.2d 1, 2 (1994); Waste Management &
Transportation Insurance Co. v. Estridge, 363 Ark. 42, 47, 210 S.W.3d 869,
873 (2005). Cossey filed a partial record, got deadlines extended, and
secured a writ from the Arkansas Supreme Court to the court reporter
directing completion of the transcript.

The Dowd estate moved to dismiss the appeal, arguing that Dr.
Levy lacked standing and the trustee of his bankruptcy estate was the
proper appellant. Cossey emailed the trustee’s lawyer. He sought to
represent the trustee, in addition to Dr. Levy, in the appeal seeking
reversal of the Dowd estate’s judgment.

What we would like to do is proceed on behalf of both Dr.
Levy and the bankruptcy estate. This prevents the plaintiffs
from obtaining a dismissal. We see this as a win-win. The

_2-
Case 2:18-cv-00108-DPM Document147 _ Filed 08/26/21 Page 3of 10

insurer obviously wants to reverse its $1 million loss and

also has a duty to Dr. Levy to protect him. At the same time,

the trustee can potentially reduce the debtor's liability by

$2 million at absolutely no cost. All costs and attorney’s fees

will be paid totally by the insurer and will not cost the estate

a penny. In fact, we will be happy to pay any filing fees

associated with obtaining court approval. Essentially, we

are a free lawyer for the estate that will provide a chance to

dramatically reduce Dr. Levy’s insolvency by $2 million

(interest has already put the total judgment over $3 million).

Even if this creditor is unsecured and way down the list,

since there is no cost, there is really no down side.
Doc. 134-1 at 4. The trustee’s lawyer accepted Cossey’s proposal on the
condition that Dr. Levy’s insurer pay 100% of the costs associated with
the appeal. In his email, Cossey mentioned Dr. Levy’s insurer several
times but did not identify Oceanus as the company. Cossey later signed
a verified statement for the Bankruptcy Court stating that neither he
nor his law firm represented any interest adverse to Dr. Levy’s
bankruptcy estate and that both were “disinterested persons” under 11
U.S.C. § 101(14).

Through a combination of circumstances — the out-of-state death
of the court reporter’s biological father, her computer problems, and
Cossey being out of the office on his honeymoon—the Arkansas

Supreme Court's final deadline for filing the complete record was not

met. Cossey filed various motions for relief. But, the Supreme Court
Case 2:18-cv-00108-DPM Document147_ Filed 08/26/21 Page4of10

eventually granted the Dowd estate’s new motion to dismiss the
appeal.

The appeal came to an end in mid-September 2017, a month when
two other key events occurred. Before the Dowd case went to trial, Dr.
Levy’s employer had merged with TSG/Schumacher—a_ hospital
staffing conglomerate. After the merger, TSG/Schumacher had added
Dowd to its list of active claims. Dr. Levy’s lawyers (trial counsel and
appellate counsel) kept TSG/Schumacher informed about the status of
the case. About a week after the Dowd appeal was dismissed, Angela
Daigle (a claims manager with TSG/Schumacher) emailed Cossey
seeking an update. Cossey’s responding email said that the appeal had
been dismissed due to the court reporter’s failure to file the complete
record. Cossey didn’t mention that, under Arkansas law, he was
ultimately responsible for filing that record. A few days later, Cossey
emailed the trustee with a similar explanation about why the appeal
had been dismissed. Cossey’s email to the trustee included a copy of
his earlier email to claims manager Daigle.

A few months later, Cossey communicated by email with Daigle
and Brandon Stelly (Daigle’s boss at TSG/Schumacher) on a related
issue. They sought his advice about an order that had been entered by
a South Carolina court, an order that stayed all legal proceedings
involving policies with Oceanus. Cossey responded that, because Dr.

Levy’s debts had by then been discharged in bankruptcy, the Dowd

_4-
Case 2:18-cv-00108-DPM Document147_ Filed 08/26/21 Page5of10

plaintiffs could only pursue their judgment through a claim against
Oceanus’s liquidator. Cossey informed Stelly about an Arkansas
statute that could be used to enforce the South Carolina stay order in
Arkansas. He sent him a copy of the statute.

3. In this case, the trustee claims that Cossey and his firm
committed legal malpractice and violated their fiduciary duty to Dr.
Levy’s bankruptcy estate. One loose end about the parties. The trustee
sued some John Doe defendants. They have not been identified, and
the time to serve them has expired. FED. R. CIV. P. 4(m). The Does are
dismissed without prejudice. After full briefing, a few months ago the
Court granted summary judgment on the trustee’s appeal-related
malpractice claim. Cossey and the firm were negligent in not filing the
complete appeal record on time. But, Dr. Levy’s appeal would have
been lost on the merits; the trustee’s malpractice claim based on
Cossey’s filing error therefore failed for lack of damage. Doc. 122. The
trustee also makes a respondent superior claim against Cossey’s law firm.
But, the firm has accepted responsibility for Cossey’s actions, so that
claim has no work to do. The trustee also asserts a negligent
hiring /retention/supervision/ remediation claim against the firm. To
the extent that claim is about the appeal, it too has fallen away. In any
event, because the firm has accepted responsibility for Cossey’s actions,
any claim for negligent hiring/supervision/training/remediation

based on his actions also fails as a matter of law. Elrod v. G&R

_5-
Case 2:18-cv-00108-DPM Document147 _ Filed 08/26/21 Page 6 of 10

Construction Co., 275 Ark. 151, 154, 628 S.W.2d 17, 18 (1982). This case
thus comes down to the trustee’s claim for breach of fiduciary duty.
Cossey and his firm owed the bankruptcy trustee a fiduciary duty
of “undivided” loyalty. Cole v. Laws, 349 Ark. 177, 185, 76 S.W.3d 878,
883 (2002). They could not act, or fail to act, in any way inconsistent
with “the requisite standards of fair dealing, good faith, honesty, and
loyalty.” Sexton Law Firm, P.A. v. Milligan, 329 Ark. 285, 298, 948 S.W.2d
388, 395 (1997). Any conduct that conflicted with the bankruptcy
trustee’s interests was strictly prohibited. Berry v. Saline Memorial
Hospital, 322 Ark. 182, 187, 907 S.W.2d 736, 739 (1995). Self-dealing
always violates a lawyer’s fiduciary duty. Hosey v. Burgess, 319 Ark.
183, 190, 890 S.W.2d 262, 265-66 (1995); see also 1 HOWARD H. BRILL &
CHRISTIAN H. BRILL, ARKANSAS LAW OF DAMAGES § 26:2 (6th ed. 2014).
In her pleading, and during the parties’ many discovery disputes,
the bankruptcy trustee emphasized the close relationship between
Oceanus (the insurance company) and Cossey’s firm. The trustee
alleged, in particular, that Cossey, his firm, or both knew Oceanus had
deep financial problems and didn’t tell the trustee. During discovery,
no facts emerged in support of this allegation. Cossey testified that he
and his firm were as surprised as everyone else by Oceanus’s going into
liquidation. In the motion briefing, the trustee has abandoned her

“knowledge of impending financial collapse” theory.
Case 2:18-cv-00108-DPM Document147 _ Filed 08/26/21 Page 7 of 10

The trustee maintains, however, that Cossey and his firm favored
another Oceanus insured, a Dr. Hashimi, by settling the case against
him. The circumstances were different, though. The company for
which Dr. Hashimi worked was a named defendant in the other case.
Dr. Levy worked for the same company but it was not sued by the
Dowd estate. TSG/Schumacher paid to settle the other case because of
its exposure; there’s no evidence that Cossey, his firm, or Oceanus
favored Dr. Hashimi over Dr. Levy or the bankruptcy trustee. Cossey
didn’t have any basis to seek settlement funding from
TSG/Schumacher during Dr. Levy’s appeal.

The trustee’s remaining breach-of-fiduciary-duty theories fail as a
matter of law.

First, there’s no evidence that Cossey represented interests
adverse to the _ trustee. The relationship between Oceanus,
TSG/Schumacher, Dr. Levy, Cossey/Hudson Potts, and the trustee
was entirely legitimate. While Cossey’s pitch email to the trustee’s
lawyer didn’t name Oceanus as Dr. Levy’s insurer, or mention his
firm’s existing relationship with Oceanus, the trustee’s lawyer
understood that Cossey was actively representing Dr. Levy’s
malpractice insurer when that lawyer agreed to Cossey’s dual-
representation proposal. There was no secret and no conflict. ARK. R.

PROF’L CONDUCT 1.7 & cmt. 13. Oceanus, TSG/Schumacher, and the
Case 2:18-cv-00108-DPM Document147 _ Filed 08/26/21 Page 8 of 10

trustee all had an obvious common interest in getting the Dowd
judgment reversed on appeal. Berry, 322 Ark. at 187, 907 S.W.2d at 739.

Second, even assuming that Cossey should have accepted ultimate
responsibility for the late record in his explanatory emails to Daigle and
the trustee, the omission did not harm the bankruptcy estate. Here’s
the background. Cossey’s explanation highlighted the court reporter’s
failings and outlined Cossey’s efforts to get the complete record filed.
Doc. 134-1 at 14-17. As the trustee now emphasizes, Cossey did not
disclose a potential malpractice claim against himself and his law firm.
A critical fact is murky. It’s unclear whether Cossey appreciated the
rather esoteric point of Arkansas appellate practice that the appellant’s
lawyer is responsible for the record even though he’s at the mercy of
the circuit clerk and the court reporter. Doc. 125-21 at 47-49. To give
the trustee the benefit of every reasonable inference from the record,
the Court assumes that Cossey came to understand this, at least by the
time that the Supreme Court had dismissed the appeal.

It’s unclear whether Arkansas law required Cossey to disclose the
potential malpractice claim. The Arkansas Supreme Court has not
spoken on the point. In a limitations case, the Arkansas Court of
Appeals has held that the lawyer had no fiduciary duty to disclose a
possible legal error, and did not fraudulently conceal any error by
continuing to litigate an issue. Rice v. Ragsdale, 104 Ark. App. 364, 372-
75, 292 S.W.3d 856, 863-65 (2009). The Restatement says in a comment

_8-
Case 2:18-cv-00108-DPM Document147 _ Filed 08/26/21 Page 9 of 10

that the lawyer has a duty to speak in these circumstances.
RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS § 20, cmt. c
(2000 & Supp. 2021). The commentary to the applicable Arkansas ethics
rule provides that a lawyer can’t withhold information from the client
to serve the lawyer's own interests. ARK. R. PROF’L CONDUCT 1.4, cmt. 7.
A comprehensive Court of Appeals decision, in similar circumstances,
predicted that the Minnesota Supreme Court would hold that a duty to
disclose arises only if a disqualifying conflict of interest is presented.
Leonard v. Dorsey & Whitney LLP, 553 F.3d 609, 628-29 (8th Cir. 2009).
In the end, though, the unsettled Arkansas law makes no legal
difference to the trustee’s breach of fiduciary duty claim. Cossey’s
incomplete explanation did not injure the bankruptcy estate. In the
words of the model instruction that embodies the essential elements of
this claim, the trustee must show that the bankruptcy estate has
sustained damages and that the breach of fiduciary duty was a
proximate cause of those damages. | ARKANSAS MODEL JURY
INSTRUCTIONS — CIVIL AMI 1512 (2020). The trustee has not shown any
damages caused by the email. The trustee secured new counsel, filed
this case, and litigated it with great vigor. No limitations issue was
created by Cossey’s explanation about why the appeal was lost and
who was at fault. The trustee has not offered proof of any resulting

harm to the bankruptcy estate.
Case 2:18-cv-00108-DPM Document147 _ Filed 08/26/21 Page 10 of 10

Third, Cossey did not violate his fiduciary duty to the trustee by
advising Stelly about how to enforce the South Carolina stay order in
Arkansas. While TSG/Schumacher had no exposure on the Dowd
judgment, it was still on the company’s list of active claims when
Oceanus entered liquidation in mid-September 2017. Stelly’s wanting
to know if the South Carolina stay order could be enforced in Arkansas
was understandable. More importantly, Cossey’s advice was not
adverse to the bankruptcy estate’s interests—it was adverse to the
Dowd estate, the original plaintiff. Enforcing the stay order in
Arkansas benefited the bankruptcy estate by the forcing the Dowd
estate to pursue its judgment through a claim with Oceanus’s
liquidator. And Cossey had already informed the trustee about this
very issue. Doc. 134-1 at 15.

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Motion for summary judgment, Doc. 125 & 128, granted.
Judgment will issue.

So Ordered.

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D.P. Marshall Jr.
United States District Judge

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